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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &                 FOR COURT USE ONLY
Email Address
Thomas B. Ure
800 West 6th Street., Suite 940
Los Angeles, CA 90017
213-202-6070 Fax: 213-202-6075
170492
tom@urelawfirm.com




     Attorney for Movant
     Movant appearing without attorney:
                                                      UNITED STATES BANKRUPTCY COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                       CASE NO.: 2:16-bk-17571-BR
              Alvaro A. Bautista
                                                                                       CHAPTER: 11



                                                                                                    NOTICE OF MOTION AND
                                                                                               MOTION FOR ORDER DETERMINING
                                                                                                    VALUE OF COLLATERAL
                                                                                                 [11 U.S.C. § 506(a), FRBP 3012)

                                                                                       This motion is being made under ONLY ONE of the
                                                                                       following notice procedures:
                                                                                           No hearing unless request under LBR 9013-1(o)(4);
                                                                                           Hearing set by Movant: LBR 9013-1(d);
                                                                                           Hearing set on Shortened Notice: LBR 9075-1(b); or
                                                                                           Hearing on Emergency Basis: LBR 9075-1(a).

                                                                                       Date:                    December 13, 2016
                                                                                       TIME:                    10:00 a.m.
                                                                                       COURTROOM:               1668
                                                                                       PLACE:                   255 E. Temple Street
                                                                                                                Los Angeles, CA 90012
                                                                      Debtor(s)




Creditor Name (Insert name of creditor holding collateral to be valued):                               Bank of America, N.A.


1.          PLEASE TAKE NOTICE THAT                Debtor Alvaro A. Bautista     (Movant) requests an order valuing the
            collateral described below. This motion does not request lien avoidance (see LBR forms F 4003 for lien avoidance
            involving principal residences and judicial liens).


2. NOTICE PROVISIONS AND DEADLINES FOR FILING AND SERVING A WRITTEN RESPONSE: Your rights might
   be affected by this Motion. You may want to consult an attorney. Refer to the box checked below for the deadline to
                    This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    file and serve a written response. If you fail to timely file and serve a written response, the court may treat such failure
    as a waiver of your right to oppose the Motion and may grant the requested relief. You must serve a copy of your
    opposition upon the Movant and the Movant’s attorney and the United States trustee, and also serve a copy on the
    judge pursuant to LBR 5005-2(d) and the Court Manual.


            a.   No Hearing Scheduled; Notice Provided Under LBR 9013-1(o): This Motion is filed by the Movant
                 pursuant to LBR 9013-1(o), which provides for granting of motions without a hearing. The full Motion is
                 attached, including the legal and factual grounds upon which the Motion is made. If you wish to oppose
                 this Motion, you must file a written response and request for hearing with the court and serve it as stated
                 above no later than 14 days after the date stated on the Proof of Service of this Motion plus 3
                 additional days if you were served by mail, electronically, or pursuant to F.R.Civ.P. 5(b)(2)(D), (E), or
                 (F).Your opposition must comply with LBR 9013-1(f) and (o).


            b.   Hearing Set by Movant; Notice Provided Under LBR 9013-1(d): This Motion is set for hearing on at
                 least 21 days of notice pursuant to LBR 9013-1(d). The full Motion and supporting documentation are
                 attached, including the legal and factual grounds upon which the Motion is made. If you wish to oppose
                 this Motion, you must file a written response with the court and serve it as stated above no later than 14
                 days prior to the hearing. Your response must comply with LBR 9013-1(f). The undersigned hereby
                 verifies that the hearing date and time selected were available for this type of Motion according to the
                 judge’s self-calendaring procedures [LBR 9013-1(b)].


            c.   Hearing Requested on Shortened Notice under LBR 9075-1(b): Movant has filed a separate motion
                 asking the court to set a hearing on shortened notice, titled Application for Order Setting Hearing on
                 Shortened Notice (Application). If the court grants the Application, the Movant will serve you with another
                 document providing notice. The deadline to file and serve a written response will be contained in this
                 document. If the court denies the Application, the Movant will provide written notice of a regular hearing
                 date or other proposed disposition of this motion.


            d.   Hearing Requested on Emergency Basis under LBR 9075-1(a): Hearing Requested on Emergency
                 Basis under LBR 9075-1(a): Movant has contacted the court and requested an emergency hearing on
                 less than 48 hours notice. If the court grants the request, you will receive a separate Notice of Hearing
                 that identifies the deadline for the Movant to file and serve the Motion and the deadline for you to file and
                 serve a written response. If the court denies the request to set an emergency hearing, the Movant will
                 provide written notice of a regular hearing date or other disposition of this motion and the deadline for
                 filing an opposition.


Date: 11/22/16
                                                                                  By:         /s/ Thomas B. Ure
                                                                                              Signature of Movant or Attorney for Movant
                                                                                  Name: Thomas B. Ure
                                                                                              Print Name of Movant or Attorney for Movant




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                         MOTION FOR ORDER DETERMINING VALUE OF COLLATERAL
                              PURSUANT TO 11 U.S.C. § 506(a) AND FRBP 3012

1. The Movant is (check one):
                     The debtor
                     A creditor
                     The Official Committee of Creditors Holding Unsecured Claims
                     Others (specify):


2. The Collateral to be Valued:
       a. The Movant requests a determination of the value of the following collateral (Collateral).

                      Real Property
                      Street Address:        8818 Compton Ave.
                      Unit Number:
                      City, State, Zip Code: Los Angeles, CA 90002

                      Legal description or document recording number (including county of recording):
                      THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF LOS ANGELES,
                      STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:
                      Lot 130, of Putney Place, in the County of Los Angeles, State of California, as per map recorded
                      in Book 12 Pages 124 of Maps, in the office of the County Recorder of said county.
                      Except therefrom all minerals, gas, oil, petroleum, naphtha and other hydrocarbon substances,
                      in and under said land lying below a depth of 500 feet from the surface, without however the
                      right of surface entry, as reserved or excepted in a deed recorded November 4, 1969 as
                      Instrument No. 1316.


                      Personal Property
                               Vehicle
                               Year, manufacturer, type, and
                                        model:
                               Vehicle Identification Number:
                               Location of vehicle (if known):

                                     Equipment:
                                     Manufacturer, type, and
                                             characteristics:
                                     Serial number(s):
                                     Location (if known):

                                     Other Personal Property (describe type, identifying information, and location):




                                     See attached page.

            b. Purpose of the Valuation

                   Treatment of the claim in a plan:

                                         Pursuant to 11 U.S.C. § 1322

                                         Pursuant to 11 U.S.C. § 1129

                                         Other
                                                     :


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             c. Movant asserts that the value of the Collateral is $ 230,000.00                               as of (date): 6/7/16
                 Check One:
                                Date bankruptcy case was commenced.

                                     Other(specify):

3. Liens Encumbering the Collateral:

  The Collateral is subject to the following liens in the amounts specified securing the debt against the Collateral:


                                                                                                                            Balance of Lien Amount As
             Names of Lien Holders                                   Original Lien Amount                                       of (applicable date)
              in Order of Priority                                                                                                   6/7/16

   1st Lien: Bank of America, N.A.                         $ 444,000.00                                               $ 214,080.86
   2nd Lien: Bank of America, N.A.                         $ 111,000.00                                               $ 111,000.00
   3rd Lien:                                               $                                                          $

     See attached page for additional lien(s).

4. Determination of Secured/Unsecured Status:
  Based upon paragraphs 2 and 3 above, Movant asserts the following:

         Names of Lien Holders                                     Secured Portion of                                        Unsecured Portion of
           in Order of Priority                                         the Claim                                                 the Claim
   1st Lien: Bank of America, N.A.                         $ 214,080.86                                               $      0.00
   2nd Lien: Bank of America, N.A.                         $ 15,919.14                                                $ 95,080.86
   3rd Lien:                                               $                                                          $

     See attached page for additional lien(s).

5. Evidence in Support of Motion:

        a.       Evidence establishing the value of the Collateral:
                            Declaration of the debtor as owner of the Collateral
                            Declaration of the expert witness
                                                      Certified appraiser
                                                      Other:
                            Declaration of a party who can authenticate a market report e.g. Kelley Blue Book) pursuant to
                            F.R.Evid. 803(17).
                            Other:


        b.       Evidence establishing the amount of the claims related to the liens encumbering the Collateral
                            Declaration of the debtor as owner of the Collateral
                            Declaration of a witness authenticating a document that is an admissible statement of a party
                            opponent (e.g. proof of claim or a recent loan statement) pursuant to F.R.Evid. 801(d)(2).

                                Other:

        c.       Evidence establishing the priority of the lien encumbering the Collateral
                            Declaration of the debtor as owner of the Collateral
                            Other:

        d.                      Other evidence (specify):

Based upon the foregoing, Movant requests that this Court value the Collateral as listed in paragraph 2.c. above
and that the claims related to the liens encumbering the Collateral, listed in paragraph 3 above, are determined to
be secured or unsecured as requested in paragraph 4 above.


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   See attached continuation page for additional provisions.

                                                               Respectfully submitted,

Date: 11/22/2016                                                                By:          /s/ Thomas B. Ure
                                                                                             Signature of Movant or Attorney for Movant

                                                                                Name:        Thomas B. Ure
                                                                                             Printed Name of Movant or Attorney for Movant




                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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  1                           DECLARATION OF ALVARO A. BAUTISTA
  2           I, ALVARO A. BAUTISTA, hereby declare as follows:

  3           1.      I am the Debtor in United States Bankruptcy Court Case Number 2:16-bk-17571-BR.
  4   I have personal knowledge of the facts stated herein and, if called upon to testify thereto, I could and

  5   would do so competently and truthfully.
  6           2.      I am the owner of the real property commonly known as 8818 Compton Ave., Los

  7   Angeles, CA 90002 (hereinafter “the Property”).
  8           3.      The Property is subject to a note and First Deed of Trust in favor of Bank of America,

  9   N.A. (“FIRST TRUST DEED CLAIM”). I have been informed and believe the outstanding balance
 10   on said loan, as of the filing of my petition, was $214,080.86. Attached hereto, marked as Exhibit

 11   “A”, is a true and correct copy of a proof of claim (without pages 47 through 58 which are not
 12   relevant to this motion) from the FIRST TRUST DEED CLAIM which was filed in this case on

 13   October 26, 2016.
 14           4.      The Property is further encumbered by a Second Trust Deed in favor of Bank of

 15   America, N.A. (“SECOND TRUST DEED CLAIM”). I have not received any statements from Bank
 16   of America in over 10 years. No Proof of Claim has been filed on behalf of the SECOND TRUST

 17   DEED CLAIM as of the date of this declaration. The original balance on the loan was $111,000.00.
 18   Due to years of nonpayment on the loan, the balance must be higher than the original loan amount.

 19           5.      The FIRST TRUST DEED CLAIM is based on a Deed of Trust recorded on
 20   December 31, 2007 as instrument number 20072862277. Please refer to the Deed of Trust attached

 21   to the Proof of Claim (Exhibit “A”) at page 20.
 22           6.      The SECOND TRUST DEED CLAIM is based upon a Deed of Trust recorded on

 23   December 31, 2007 as instrument number 20072862278. Please see Exhibit “B” true and correct
 24   copy of the recorded deed of trust for the SECOND TRUST DEED CLAIM.

 25   ///
 26   ///

 27   ///
 28
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                                  EXHIBIT A
         Case
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 Fill in this information to identify the case:

 Debtor 1              Alvaro A Bautista

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:          Central                 District of    California
                                                                                        (State)
 Case number           2:16-bk-17571-BR




 Official Form 410
 Proof of Claim                                                                                                                                                     04/16

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



Part 1: Identify the Claim

1. Who is the current
   creditor?                           BANK OF AMERICA, N.A.
                                      Name of the current creditor (the person or entity to be paid for this claim)
                                      Other names the creditor used with the debtor

2. Has this claim been
   acquired from someone               ‫܈‬      No
   else?                               ‫܆‬      Yes. From whom?
                                       




3. Where should notices                Where should notices to the creditor be sent?                          Where should payment to the creditor be sent? (if
   and payments to the                                                                                        different)
   creditor be sent?                   Bank of America                                                       Bank of America, N.A.
                                       Name                                                                   Name
    Federal Rule of
    Bankruptcy Procedure               PO BOX 31785                                                           PO BOX 660933
    (FRBP) 2002(g)                     Number          Street                                                 Number          Street

                                       Tampa                         FL                    33631-3785         Dallas                         TX                  75266-0933
                                       City                          State                   Zip Code         City                           State               Zip Code

                                       Contact phone 1.800.669.6607                                           Contact phone            1.800.669.6607

                                       Contact email                                                          Contact email

                                       Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend               ‫܈‬      No
   one already filed?                  ‫܆‬      Yes. Claim number on court claims registry (if known)                                        Filed on
                                                                                                                                                        MM / DD / YYYY
                                       
5. Do you know if anyone
   else has filed a proof of           ‫܈‬      No
   claim for this claim?               ‫܆‬      Yes. Who made the earlier filing?
                                       
         Case
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Part 2: Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ‫ ܆‬No
   you use to identify the                                                                                                                          ******6776
                                 ‫ ܈‬Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor.
   debtor?                       




7. How much is the claim?             214,080.86                          Does this amount include interest or other charges?
                                                                          ‫܆‬    No
                                                                           ‫܈‬    Yes. Attach statement itemizing interest, fees, expenses, or other charges
                                                                                    required by Bankruptcy Rule 3001(c)(2)(A).
                                                                           

                                 
                                                                           
                                 




8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?                        Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.
                                 Recorded Mortgage
                                                                          




9. Is all or part of the claim   ‫ ܆‬No
   secured?                      ‫ ܈‬Yes. The claim is secured by a lien on property.
                                                                    
                                        Nature of property:

                                            ‫ ܈‬Real estate If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                 
                                                           Attachment (Official Form 410-A) with this Proof of Claim.
                                           ‫ ܆‬Motor vehicle
                                           ‫ ܆‬Other. Describe      8818-8818 1/2 S COMPTON AVE LOS ANGELES, CA 90002
                                           
                                 
                                            Basis for perfection:    Recorded Mortgage
                                            Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           Example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                            been filed or recorded.)

                                 

                                           Value of property:                       $
                                           Amount of the claim that is secured $            214,080.86
                                                                                                                               (The sum of the secured and unsecured
                                           Amount of the claim that is                                                        amounts should match the amount in line
                                            unsecured:                               $   0.00                                  7.)

                                 

                                           Amount necessary to cure any default as of the date of the petition:                       $   9,201.82
                                 
                                            Annual Interest Rate (when case was
                                 
                                            filed)                                       2                    %
                                           ‫ ܈‬Fixed
                                           ‫ ܆‬Variable
                                 

10. Is this claim based on a
                                 ‫ ܈‬No
    lease?
                                 ‫ ܆‬Yes. Amount necessary to cure any default as of the date of the petition.                          $
                                 

11. Is this claim subject to a
                                 ‫ ܈‬No
    right of setoff?
                                 ‫ ܆‬Yes. Identify the property.




                                 
        Case
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12. Is all or part of the claim               ‫ ܈‬No
    entitled to priority under 11
    U.S.C. § 507(a)?                          ‫ ܆‬Yes. Check all that apply:
                                                                                                                                                                  Amount entitled to priority
     A claim may be partly priority                ‫܆‬    Domestic support obligations (including alimony and child support) under
     and partly nonpriority. For                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                        $
     example, in some categories,
                                                   ‫܆‬    Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
     the law limits the amount                          personal, family, or household use. 11 U.S.C. § 507(a)(7).                                                    $
     entitled to priority.
                                                   ‫܆‬    Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                                        bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.
                                                        11 U.S.C. § 507(a)(4).                                                                                        $

                                                   ‫܆‬    Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                         $

                                                   ‫܆‬    Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                             $

                                                   ‫܆‬    Other. Specify subsection of 11 U.S.C. § 507(a)(___) that applies.                                            $


                                               *       Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.




Part 3: Sign Below

The person completing                 Check the appropriate box:
this proof of claim must
sign and date it.                     ‫ ܆‬I am the creditor.
FRBP 9011(b).
                                      ‫ ܈‬I am the creditor’s attorney or authorized agent.
If you file this claim                ‫ ܆‬I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically, FRBP
                                      ‫ ܆‬I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
5005(a)(2) authorized courts
to establish local rules
specifying what a signature           I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
is.                                   amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

                                      I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
A person who files a                  and correct.
fraudulent claim could be
fined up to $500,000,
                                      I declare under penalty of perjury that the foregoing is true and correct.
imprisoned for up to 5
years, or both.
                                      Executed on date 10/26/2016
18 U.S.C. §§ 152, 157, and
                                                                  MM / DD / YYYY
3571.
                                                                                 Digitally signed by Todd S. Garan

                                    Todd S. Garan                                DN: cn=Todd S. Garan, o=Aldridge Pite, LLP, ou=Bankruptcy,
                                                                                 email=tgaran@aldridgepite.com, c=US
                                                                                 Date: 2016.10.26 15:27:06 -07'00'


                                              Signature

                                      Print the name of the person who is completing and signing this claim:
                                      Name                        Todd S. Garan
                                                                  First Name                                        Middle Name                       Last Name


                                      Title                       Attorney (SBN 236878)

                                      Company                     Aldridge Pite, LLP
                                                                  Identify the corporate servicer as the company if the authorized agent is a servicer.

                                                                  4375 Jutland Drive, Suite 200
                                      Address                     P.O. Box 17933
                                                                  Number          Street


                                                                  San Diego, CA 92177-0933
                                                                  City                                                                        State    ZIP Code


                                      Contact phone               (858) 750-7600                                                              Email   TGaran@aldridgepite.com
                                            Case
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                                 2:16-bk-17571-BR                                                  209,686.73                                    4,405.86                                   734.31
                                 ALVARO A BAUTISTA                                                 2,177.09                                      33.00                                      440.78

                                                                                                   33.00                                         3,213.16                                   0.00

                                   6        7   7    6                                                                                                                                      1,175.09
                                                                                                   3,213.16                                      2,578.92

                                 BANK OF AMERICA, N.A.                                             1,029.12                                      1,029.12

                                 BANK OF AMERICA N.A.                                              214,080.86                                    9,201.82


                                 Fixed accrual




05/01/2015   1540.57                                                                     1540.57   0            0        0        0       0                 212742.42   0   (4 373.87)   36.71       0
                                                    Monthly Assessment

05/01/2015                             18                                                1540.57   0            0        0        18      0                 212742.42   0   (4 373.87)   54.71       0
                                                    RECORDING FEES

05/16/2015                             36.71                                             1540.57   0            0        0        36.71   0                 212742.42   0   (4 373.87)   91.42       0
                                                    Assessed Late Charge

06/01/2015   1540.57                                                                     3081.14   0            0        0        0       0                 212742.42   0   (4 373.87)   91.42       0
                                                    Monthly Assessment

06/16/2015                             36.71                                             3081.14   0            0        0        36.71   0                 212742.42   0   (4 373.87)   128.13      0
                                                    Assessed Late Charge

07/01/2015   1540.57                                                                     4621.71   0            0        0        0       0                 212742.42   0   (4 373.87)   128.13      0
                                                    Monthly Assessment

07/16/2015                             36.71                                             4621.71   0            0        0        36.71   0                 212742.42   0   (4 373.87)   164.84      0
                                                    Assessed Late Charge

07/31/2015             36.71                        Waive/Adjust Late                    4621.71   0            0        0        36.71   0                 212742.42   0   (4 373.87)   128.13      0
                                                    Charge

07/31/2015             36.71                        Waive/Adjust Late                    4621.71   0            0        0        36.71   0                 212742.42   0   (4 373.87)   91.42       0
                                                    Charge

07/31/2015             36.71                        Waive/Adjust Late                    4621.71   0            0        0        36.71   0                 212742.42   0   (4 373.87)   54.71       0
                                                    Charge

08/01/2015   1540.57                                                                     6162.28   0            0        0        0       0                 212742.42   0   (4 373.87)   54.71       0
                                                    Monthly Assessment

08/16/2015                             36.71                                             6162.28   0            0        0        36.71   0                 212742.42   0   (4 373.87)   91.42       0
                                                    Assessed Late Charge

08/31/2015             1550                                                              6162.28   0            0        0        0       1550              212742.42   0   (4 373.87)   91.42       1550
                                                    Miscellaneous Payment

08/31/2015             -1540.57                                                          6162.28   0            0        0        0       -1540.57          212742.42   0   (4 373.87)   91.42       9.43
                                                    Miscellaneous Payment

08/31/2015             1540.57                                              06/01/2015   4621.71   379.74       354.57   806.26   0       0                 212362.68   0   (3 567.61)   91.42       9.43
                                                    Monthly Payment

09/01/2015   1540.57                                                                     6162.28   0            0        0        0       0                 212362.68   0   (3 567.61)   91.42       9.43
                                                    Monthly Assessment




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09/11/2015             2000                                                         6162.28   0        0        0          0       2000       212362.68   0   (3 567.61)   91.42    2009.43
                                               Miscellaneous Payment

09/11/2015             -1540.57                                                     6162.28   0        0        0          0       -1540.57   212362.68   0   (3 567.61)   91.42    468.86
                                               Miscellaneous Payment

09/11/2015             1540.57                                         07/01/2015   4621.71   380.37   353.94   806.26     0       0          211982.31   0   (2 761.35)   91.42    468.86
                                               Monthly Payment

10/01/2015   1540.57                                                                6162.28   0        0        0          0       0          211982.31   0   (2 761.35)   91.42    468.86
                                               Monthly Assessment

10/30/2015                           15        INSPECTION-OCCUPIE                   6162.28   0        0        0          15      0          211982.31   0   (2 761.35)   106.42   468.86
                                               D

11/01/2015   1540.57                                                                7702.85   0        0        0          0       0          211982.31   0   (2 761.35)   106.42   468.86
                                               Monthly Assessment

11/03/2015             1600                                            08/01/2015   6162.28   381.01   353.3    806.26     0       59.43      211601.3    0   (1 955.09)   106.42   528.29
                                               Monthly Payment

11/20/2015             36.71                   Waive/Adjust Late                    6162.28   0        0        0          36.71   0          211601.3    0   (1 955.09)   69.71    528.29
                                               Charge

11/20/2015             36.71                   Waive/Adjust Late                    6162.28   0        0        0          36.71   0          211601.3    0   (1 955.09)   33       528.29
                                               Charge

11/27/2015                           3904.78                                        6162.28   0        0        -3904.78   0       0          211601.3    0   (5 859.87)   33       528.29
                                               County Taxes

12/01/2015   1540.57                                                                7702.85   0        0        0          0       0          211601.3    0   (5 859.87)   33       528.29
                                               Monthly Assessment

12/08/2015             1012.28                                                      7702.85   0        0        0          0       1012.28    211601.3    0   (5 859.87)   33       1540.57
                                               Miscellaneous Payment

01/01/2016   1438.28                                                                9141.13   0        0        0          0       0          211601.3    0   (5 859.87)   33       1540.57
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01/04/2016             1438.28                                                      9141.13   0        0        0          0       1438.28    211601.3    0   (5 859.87)   33       2978.85
                                               Miscellaneous Payment

01/04/2016             -1540.57                                                     9141.13   0        0        0          0       -1540.57   211601.3    0   (5 859.87)   33       1438.28
                                               Miscellaneous Payment

01/04/2016             1540.57                                         09/01/2015   7600.56   381.64   352.67   806.26     0       0          211219.66   0   (5 053.61)   33       1438.28
                                               Monthly Payment

02/01/2016   1438.28                                                                9038.84   0        0        0          0       0          211219.66   0   (5 053.61)   33       1438.28
                                               Monthly Assessment

02/10/2016             1438.28                                                      9038.84   0        0        0          0       1438.28    211219.66   0   (5 053.61)   33       2876.56
                                               Miscellaneous Payment

02/10/2016             -1540.57                                                     9038.84   0        0        0          0       -1540.57   211219.66   0   (5 053.61)   33       1335.99
                                               Miscellaneous Payment

02/10/2016             1540.57                                         10/01/2015   7498.27   382.28   352.03   806.26     0       0          210837.38   0   (4 247.35)   33       1335.99
                                               Monthly Payment

03/01/2016   1438.28                                                                8936.55   0        0        0          0       0          210837.38   0   (4 247.35)   33       1335.99
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03/08/2016             1438.28                                                      8936.55   0        0        0          0       1438.28    210837.38   0   (4 247.35)   33       2774.27
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03/08/2016             -1540.57                                                     8936.55   0        0        0         0   -1540.57   210837.38   0   (4 247.35)   33       1233.7
                                               Miscellaneous Payment

03/08/2016             1540.57                                         11/01/2015   7395.98   382.91   351.4    806.26    0   0          210454.47   0   (3 441.09)   33       1233.7
                                               Monthly Payment

03/29/2016                           667.48    1st Mortgage Hazard                  7395.98   0        0        -667.48   0   0          210454.47   0   (4 108.57)   33       1233.7
                                               Insurance

03/31/2016                           717.11                                         7395.98   0        0        -717.11   0   0          210454.47   0   (4 825.68)   33       1233.7
                                               County Taxes

04/01/2016   1438.28                                                                8834.26   0        0        0         0   0          210454.47   0   (4 825.68)   33       1233.7
                                               Monthly Assessment

04/06/2016             1438.28                                                      8834.26   0        0        0         0   1438.28    210454.47   0   (4 825.68)   33       2671.98
                                               Miscellaneous Payment

04/06/2016             -1540.57                                                     8834.26   0        0        0         0   -1540.57   210454.47   0   (4 825.68)   33       1131.41
                                               Miscellaneous Payment

04/06/2016             1540.57                                         12/01/2015   7293.69   383.55   350.76   806.26    0   0          210070.92   0   (4 019.42)   33       1131.41
                                               Monthly Payment

05/01/2016   1438.28                                                                8731.97   0        0        0         0   0          210070.92   0   (4 019.42)   33       1131.41
                                               Monthly Assessment

05/14/2016             1438.28                                                      8731.97   0        0        0         0   1438.28    210070.92   0   (4 019.42)   33       2569.69
                                               Miscellaneous Payment

05/14/2016             -1540.57                                                     8731.97   0        0        0         0   -1540.57   210070.92   0   (4 019.42)   33       1029.12
                                               Miscellaneous Payment

05/14/2016             1540.57                                         01/01/2016   7191.4    384.19   350.12   806.26    0   0          209686.73   0   (3 213.16)   33       1029.12
                                               Monthly Payment

06/01/2016   1438.28                                                                8629.68   0        0        0         0   0          209686.73   0   (3 213.16)   33       1029.12
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Alaska Arizona California Florida Georgia Hawaii Idaho Nevada New Mexico Oregon Texas Utah Washington

                                PROOF OF CLAIM DISCLOSURES

                           IN RE: BAUTISTA, ALVARO A.
                       UNITED STATES BANKRUPTCY COURT
              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

                                  CASE NO. 2:16-BK-17571-BR
                              CREDITOR: BANK OF AMERICA, N.A.


   1. The amount of the post-petition payments is subject to change per the terms of the Note and
      Deed of Trust/Mortgage.
   2. This Proof of Claim shall not constitute a waiver of the within party’s right to receive service
      pursuant to Fed. R. Civ. P. 4, made applicable to this proceeding by Fed. R. Bankr. P. 7004
      notwithstanding Aldridge Pite, LLP’s participation in this proceeding. Moreover, the within
      party does not authorize Aldridge Pite, LLP, either expressly or impliedly through Aldridge
      Pite, LLP’s participation in this proceeding, to act as its agent for purpose of service under Fed.
      R. Bankr. P. 7004.




                                             4375 Jutland Drive
                                               P.O. Box 17933
                                          San Diego, CA 92177-0933
                                               (858) 750-7600
                                            www.aldridgepite.com
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      2:16-bk-17571-BR Claim
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                                   DECLARATION OF EXPERT WITNESS IN SUPPORT OF
                                MOTION FOR ORDER DETERMINING VALUE OF COLLATERAL

I,                                    declare:

        1. I am over 18 years of age, and I am qualified to testify as an expert witness in my capacity as a:
                 Licensed Residential Property Appraiser with license no.
                 Other:


        2. Attached as Exhibit A to this declaration, is my report, which discloses all the data that I have used in forming
           my opinion.
        3. My Opinion of the value of the Collateral is $                            as of (applicable date)                 .

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


                                                                           Signature

                                                                           Printed Name




                 This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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                                                PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
800 West 6th Street., Suite 940
Los Angeles, CA 90017

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR ORDER
DETERMINING VALUE OF COLLATERAL will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 11/22/2016     , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:

ATTORNEY FOR CREDITOR Todd S Garan ch11ecf@aldridgepite.com,
TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
ATTORNEY FOR CREDITOR Merdaud Jafarnia bknotice@mccarthyholthus.com,
mjafarnia@ecf.inforuptcy.com
ATTORNEY FOR TRUSTEE Ron Maroko ron.maroko@usdoj.gov
ATTORNEY FOR CREDITOR Cassandra J Richey cmartin@pralc.com
ATTORNEY FOR CREDITOR Edward A Treder cdcaecf@bdfgroup.com
U.S. TRUSTEE United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
ATTORNEY FOR DEBTOR Thomas B Ure tbuesq@aol.com, ThomasUre@aol.com

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 11/22/2016                   , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
to the judge will be completed no later than 24 hours after the document is filed.



                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/22/2016          , I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

United States Bankruptcy Court
Honorable Barry Russell
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012

                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
11/22/2016                   Yolanda Segura                                                    /s/ Yolanda Segura
Date                         Printed Name                                                      Signature




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(Attached page to Proof of Service-please include any additional or alternative addresses and attach additional pages if
         needed)
(Certified Mail required for service on a national bank.)

Name of 1st Lienholder)                             Address from:                                              Delivery Method
Bank of America, N.A.                                 Proof of Claim                                              US Mail
                                                      Secretary of State                                          Certified Mail -
Agent for Service of Process                          FDIC website                                             Tracking# 7012 3460 0000 2989 5475
(Name & Address)                                      Other: specify                                              Overnight Mail - Tracking#
Attn: Brian T. Moynihan                                                                                        Carrier Name:
100 North Tryon Street
Charlotte, NC 28202

Name of 1st Lienholder)                             Address from:                                              Delivery Method
Bank of America                                       Proof of Claim                                              US Mail
P.O. Box 31785                                        Secretary of State                                          Certified Mail -
Tampa, FL 33631-3785                                  FDIC website                                             Tracking#
                                                      Other: specify                                              Overnight Mail -
Agent for Service of Process                                                                                   Tracking#
(Name & Address)                                                                                               Carrier Name:


Name of 1st Lienholder)                             Address from:                                              Delivery Method
                                                      Proof of Claim                                              US Mail
                                                      Secretary of State                                          Certified Mail -
Agent for Service of Process                          FDIC website                                             Tracking#
(Name & Address)                                      Other: specify                                              Overnight Mail -
                                                                                                               Tracking#
                                                                                                               Carrier Name:




Name of 2nd Lienholder)                             Address from:                                              Delivery Method
Bank of America, N.A.                                 Proof of Claim                                              US Mail
                                                      Secretary of State                                          Certified Mail -
Agent for Service of Process                          FDIC website                                             Tracking# 7012 3460 0000 2989 5475
(Name & Address)                                      Other: specify                                              Overnight Mail -
Attn: Brian T. Moynihan                                                                                        Tracking#
100 North Tryon Street                                                                                         Carrier Name:
Charlotte, NC 28202


Name of 2nd Lienholder)                             Address from:                                              Delivery Method
                                                      Proof of Claim                                              US Mail
                                                      Secretary of State                                          Certified Mail -
Agent for Service of Process                          FDIC website                                             Tracking#
(Name & Address)                                      Other: specify                                              Overnight Mail -
                                                                                                               Tracking#
                                                                                                               Carrier Name:

Name of 2nd Lienholder)                             Address from:                                              Delivery Method
                                                      Proof of Claim                                              US Mail
                                                      Secretary of State                                          Certified Mail -
Agent for Service of Process                          FDIC website                                             Tracking#
(Name & Address)                                      Other: specify                                              Overnight Mail -
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Name of 3rd Lienholder)                            Address from:                                              Delivery Method
                                                     Proof of Claim                                              US Mail
                                                     Secretary of State                                          Certified Mail -
Agent for Service of Process                         FDIC website                                             Tracking#
(Name & Address)                                     Other: specify                                              Overnight Mail -
                                                                                                              Tracking#
                                                                                                              Carrier Name:

Name of 3rd Lienholder)                            Address from:                                              Delivery Method
                                                     Proof of Claim                                              US Mail
                                                     Secretary of State                                          Certified Mail -
Agent for Service of Process                         FDIC website                                             Tracking#
(Name & Address)                                     Other: specify                                              Overnight Mail -
                                                                                                              Tracking#
                                                                                                              Carrier Name:

Name of 3rd Lienholder)                            Address from:                                              Delivery Method
                                                     Proof of Claim                                              US Mail
                                                     Secretary of State                                          Certified Mail -
Agent for Service of Process                         FDIC website                                             Tracking#
(Name & Address)                                     Other: specify                                              Overnight Mail -
                                                                                                              Tracking#
                                                                                                              Carrier Name:




Altnerative/Additional Address                     Address from:                                              Delivery Method
(Name & Address)                                     Proof of Claim                                              US Mail
                                                     Secretary of State                                          Certified Mail -
                                                     FDIC website                                             Tracking#
                                                     Other: specify                                              Overnight Mail -
                                                                                                              Tracking#
                                                                                                              Carrier Name:
Altnerative/Additional Address                     Address from:                                              Delivery Method
(Name & Address)                                     Proof of Claim                                              US Mail
                                                     Secretary of State                                          Certified Mail -
                                                     FDIC website                                             Tracking#
                                                     Other: specify                                              Overnight Mail -
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